     Case 5:05-cv-00073-GJQ ECF No. 56 filed 02/15/06 PageID.508 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                             __________________________


AUTISM SOCIETY OF MICHIGAN,
et al.,

               Plaintiffs,

v.                                                            Case No. 5:05-CV-73

RONALD FULLER, et al.,                                        HON. GORDON J. QUIST

            Defendants.
________________________________/


                                              ORDER

       The appearance of Brad Allen Banasik as counsel for the Michigan Association of School

Boards is hereby stricken for the following reason: The Michigan Association of School Boards is

neither a party nor an amicus in this case entitled to service pursuant to the Federal Rules of Civil

Procedure. All filings in this case are a matter of public record.



Dated: February 15, 2006                                    /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
